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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


 CHAMBLESS ENTERPRISES L L C ET AL                      CASE NO. 3:20-CV-01455

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 ROBERT REDFIELD ET AL                                  MAG. JUDGE KAYLA D. MCCLUSKY


                                    MEMORANDUM ORDER

        Before the undersigned Magistrate Judge, on reference from the District Court, is a

 motion to stay, filed by Defendants. [doc. # 44]. The motion is opposed. [doc. # 47]. For the

 reasons assigned below the motion is GRANTED. 1

                                             Background

        This suit arises out of the Center for Disease Control (“CDC”) order prohibiting landlords

 of residential properties from evicting renters during the COVID-19 pandemic for inability to

 pay rent and making violations of this order a criminal offense. [doc. # 1]. Plaintiffs filed a

 complaint against Defendants on November 12, 2020, asserting that (1) the order exceeds the

 CDC’s statutory and regulatory authority, (2) the order is an unconstitutional exercise of

 legislative power, (3) the CDC failed to follow the notice and comment requirement for

 rulemaking under the Administrative Procedure Act (“APA”), and (4) the order is arbitrary and

 capricious in violation of the APA. [doc. # 1].



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   As these motions are not excepted in 28 U.S.C. § 636(b)(1)(A), nor dispositive of any claim on
 the merits within the meaning of Rule 72 of the Federal Rules of Civil Procedure, this ruling is
 issued under the authority thereof, and in accordance with the standing order of this court. Any
 appeal must be made to the district judge in accordance with Rule 72(a) and L.R. 74.1(W).

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         Plaintiffs also filed a motion for a preliminary injunction on November 12, 2020, asking

 the court to halt enforcement of the CDC’s order pending the outcome of this case. [doc. # 5].

 Defendants filed an opposition to the motion for preliminary injunction on December 8, 2020.

 [doc. # 22]. The Court denied the Plaintiff’s motion for a preliminary injunction, citing the

 unlikeliness of Plaintiff’s case to succeed on the merits as one of several reasons for denial. [doc.

 #s 35; 36]. Specifically, the Court found that: (1) “the plain text of the statute is unambiguous”

 and clearly authorizes the Order at issue; (2) the Order “is well supported and falls firmly within

 the scope of [the CDC’s] authority” under the relevant regulation; (3) the relevant statute “clearly

 passes muster” under the nondelegation doctrine; and (4) “Plaintiffs have failed to show that the

 Order is invalid for failure to comply with the notice-and-comment requirements of the

 [Administrative Procedure Act],” [doc. # 35, pp. 9, 13, 20, 24].

         On January 22, 2021, Plaintiff appealed the denial of the preliminary injunction to the

 Fifth Circuit. [doc. # 42].

         On February 9, 2021, Defendants filed a motion to stay this case pending the outcome of

 Plaintiff’s appeal of the denial of the motion for preliminary injunction. [doc. # 44]. Defendants

 argue that proceeding to the merits of this case at the district court level while the appeal of the

 denial of the preliminary injunction is before the Fifth Circuit would “result in largely

 duplicative parallel proceedings and create the risk of inconsistent decisions” because the district

 court’s denial included a detailed discussion of the likelihood of Plaintiff’s success on the merits.

 [doc. # 44-1, p. 1]. Plaintiffs filed an opposition to the motion to stay, arguing that there is no

 risk of inconsistent decisions or a waste of judicial resources because the issues on the merits

 will differ from the issues currently on appeal. [doc. # 47]. Defendants filed a reply on March 5,

 2021. [doc. # 49]. Accordingly, this motion is ripe.

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                                          Law and Analysis

        The United States Supreme Court has held that “the power to stay proceedings is

 incidental to the power inherent in every court to control the disposition of the causes on its

 docket with economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am.

 Co., 299 U.S. 248, 254–55 (1936); see also Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 545

 (5th Cir. 1983)(holding that courts have the discretionary authority to stay proceedings “in the

 interest of justice and in control of their dockets.”). However, the court’s discretion is not

 limitless. Wedgeworth, 706 F.2d at 545. In determining whether to grant a discretionary stay,

 courts should consider the following factors: “1) hardship and inequity on the moving party

 without a stay; 2) prejudice the non-moving party will suffer if a stay is granted; and 3) judicial

 economy.” McCleary v. Elekta Inc., No. 5:19-cv-00052, 2020 WL 2134149, at *1 (W.D. La.

 May 5, 2020)(quoting Falgoust v. Microsoft Corp., No. Civ. A. 00-0779, 2000 WL 462919, at *2

 (E.D. La. Apr. 19, 2000)); see also Wesley v. Unique Guidance Provider Servs., Inc., No. 3:18-

 cv-1059, 2018 WL 6038241, at *1 (W.D. La. Nov. 16, 2018).

        1. Hardship on Defendants without a Stay

        Defendants would face some hardship without a stay. Defendants are correct in that the

 issues on appeal, including the likelihood of plaintiff’s success on the merits, are duplicative of

 the issues before the district court. Thus, they would face a hardship if they had to

 simultaneously defend an appeal that includes an evaluation of the case on the merits and defend

 the case on the merits in district court. Although the burden of discovery is relatively low

 because discovery is limited to the administrative record, having to defend the same case on

 overlapping issues in two different courts is burdensome. See Falgoust, 2000 WL 462919, at *2.

 Accordingly, this factor weighs in favor of a stay.

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        2. Prejudice to Plaintiffs if a Stay is Granted

        Plaintiffs would not be materially prejudiced if a stay of proceedings were granted.

 Plaintiffs contend that a stay could prevent them from ultimately receiving a decision on the

 merits due to delay. However, even if the case were not stayed, there is no guarantee that the

 Plaintiffs would receive a final decision prior to the June 30, 2021, expiration of the eviction

 moratorium or prior to the resolution of the appeal proceedings. Indeed, in light of the appeal, no

 Case Management Order has issued and no bench trial on the merits has been set by the Court.

 A slight delay is not ordinarily considered significantly prejudicial. See Falgoust, 2000 WL

 462919, at *2. Accordingly, Plaintiffs would not be prejudiced by a delay resulting from a stay

 of proceedings, and this factor weighs in favor of a stay.

        3. Judicial Economy

        Defendants assert that because the district court discussed the likelihood of success on the

 merits in depth in its denial of the motion for preliminary injunction, the Fifth Circuit’s ruling on

 the preliminary injunction will be determinative of Plaintiffs’ case on the merits. [doc. # 44, p. 2-

 3]. Plaintiffs claim, however, that the purpose of a preliminary injunction is to prevent

 irreparable harm while a case is litigated on the merits, and, therefore, the issues on appeal are

 not the same as those before the district court.

        Under Fifth Circuit precedent, the appellate court’s decision regarding a preliminary

 injunction ordinarily will not be determinative of the merits of a case. See, e.g., Scott Paper Co.

 v. Gulf Coast Pulpwood Ass’n, Inc., 491 F.2d 119, 119 (5th Cir. 1974); Siff v. State Democratic

 Exec. Comm., 500 F.2d 1307, 1310 (5th Cir. 1974)(“Stressing again that we are not certain of the

 merits of plaintiffs’ claims, but are only pointing to the difficulty of predicting success on the

 merits, we affirm denial of the preliminary injunction”); De Giorgio v. Causey, 488 F.2d 527,



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 528 (5th Cir. 1973) (“an appeal from the issuance or denial of a preliminary injunction is

 ordinarily no way to obtain appellate disposition of a case on its merits”); Piedmont Heights

 Civic Club, Inc. v. Moreland, 637 F.2d 430, 435 (5th Cir. 1981)(refusing to consider a case

 strictly on the merits except insofar as the first element of a preliminary injunction requires

 consideration of the merits to determine if the trial judge abused his discretion in denying the

 injunction, where the district judge clearly considered his order as a decision on the preliminary

 injunction motion and not a final order).

           In many cases, discovery may introduce new facts affecting the district court’s initial

 assessment of a case’s likelihood of success on the merits in granting or denying a preliminary

 injunction. Here, however, discovery is limited to the administrative record and the issues before

 the court are purely legal in nature. In its denial of the preliminary injunction, the Court found

 that: (1) “the plain text of the statute is unambiguous,” and clearly authorizes the Order at issue;

 (2) the Order “is well supported and falls firmly within the scope of [the Centers for Disease

 Control and Prevention’s] authority” under the relevant regulation; (3) the relevant statute

 “clearly passes muster” under the nondelegation doctrine; and (4) “Plaintiffs have failed to show

 that the Order is invalid for failure to comply with the notice-and-comment requirements of the

 [Administrative Procedure Act],” [doc. # 35, pp. 9, 13, 20, 24]. Because there are no factual

 issues before the court, the discovery process will not likely reveal any novel information that

 would alter the district court’s analysis of whether the Plaintiffs are likely to succeed on the

 merits.

           Since the district court’s analysis of the case on the merits is currently before the Fifth

 Circuit and likely will not be materially changed by discovery, conducting further court

 proceedings while these overlapping issues are before the Fifth Circuit would result in



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 duplicative proceedings and would create the possibility of inconsistent rulings. Unlike in cases

 where the appellate court’s ruling on a preliminary injunction is not determinative of the merits

 of the case, here, because the issues are purely legal and discovery is limited to the

 administrative record, the Fifth Circuit’s ruling on the district court’s denial of the preliminary

 injunction will be informative and instructive to the district court on the merits of the case.

 Accordingly, it is in the interest of judicial economy to stay the proceeding pending the Fifth

 Circuit’s review of the denial of the preliminary injunction.

                                             Conclusion

        Based on the foregoing, IT IS ORDERED that the motion to stay filed by Defendant

 [doc. # 44] is GRANTED.

        THUS DONE in Chambers on this 19th day of April, 2021.




                                                               KAYLA DYE MCCLUSKY
                                                          UNITED STATES MAGISTRATE JUDGE




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